Case 2:10-md-02179-CJB-DPC Document 6840-1 Filed 07/05/12 Page1of1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § C.A. NO. 2:10-MDL-02179

“DEEPWATER HORIZON?” in the §

GULF OF MEXICO, on §

APRIL 20, 2010 § SECTION: J
§
§ JUDGE BARBIER
§

§ MAG. JUDGE SHUSHAN

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ORDER OF DISMISSAL

CONSIDERING the Agreed Motion to Dismiss with Prejudice of Wyman
Wheeler and Rebecca Wheeler,

IT IS ORDERED that the Agreed Motion to Dismiss with Prejudice of
Wyman Wheeler and Rebecca Wheeler, is granted and the claims asserted or
which could have been asserted in this case on behalf of Plaintiffs, Wyman
Wheeler and Rebecca Wheeler, individually, are hereby dismissed, with prejudice.

Each party is to bear their own respective costs.

SIGNED this ___ day of 01g.

U.S. DISTRICT JUDGE CARL J. BARBIER
